         Case 1:19-cr-00018-ABJ Document 105 Filed 05/13/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________


                                 NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE Chandler P. Routman, Esq., hereby enters her notice of

appearance as counsel of record on behalf of Defendant Roger J Stone, Jr. and requests that all

pleadings, motions, notices, correspondence, orders and other filings regarding this case be served

on Chandler P. Routman, Esq. at the below address.



                                                     Respectfully submitted,
                                                     Chandler P. Routman, Esq.
                                                     501 East Las Olas Blvd., Suite 331
                                                     Fort Lauderdale, FL 33301
                                                     Tele: (954) 235-8259
                                                     routmanc@gmail.com

                                                     By:    /s/ Chandler P. Routman
                                                            CHANDLER P. ROUTMAN
                                                            D.D.C. Bar No. 1618092
         Case 1:19-cr-00018-ABJ Document 105 Filed 05/13/19 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2019, I electronically filed the foregoing with the Clerk of

Court using CM/ECF. I also certify that the foregoing document is being served on this day on all

counsel of record or pro se parties identified on the attached service list in the manner specified,

either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

authorized manner for those counsel or parties who are not authorized to receive electronically

Notice of Electronic filing.




                                                     By:     /s/ Chandler P. Routman
                                                             CHANDLER P. ROUTMAN
                                                             D.D.C. Bar No. 1618092
